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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.                           NO. 4:15-CR-243-DPM

CHAD MORGAN CROCKETT                                                     DEFENDANT


                                        ORDER

      Pending before the Court is a motion for issuance of summons and for revocation

of pretrial release. (Docket entry #17) For good cause shown, the motion for issuance of

summons is GRANTED. The Clerk is directed to issue summons to Defendant Chad

Morgan Crockett, and deliver to the United States Marshal for execution, requiring

Defendant’s appearance at a hearing before United States Magistrate Judge Beth Deere

on April 26, 2016, at 10:00 a.m., at the Richard Sheppard Arnold United States

Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas, 72201, in Courtroom 1D,

to show cause why his pretrial release should not be revoked.

      IT IS SO ORDERED this 15th day of April, 2016.



                                         ____________________________________
                                         UNITED STATES MAGISTRATE JUDGE
